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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 18-cv-01710 (KMT)

   ROGER HILL, an individual,           )
                                        )
                              Plaintiff )
   vs.                                   )
                                         )
   MARK WARSEWA an individual;            )
   LINDA JOSEPH, an individual,          )
   and the State of Colorado              )
                             Defendants)



   DEFENDANTS WARSEWA’S AND JOSEPH’S RESPONSE TO
   PLAINTIFF’S MOTION TO CERTIFY A QUESTION TO THE
   COLORADO SUPREME COURT [ECF NO. 43]


          Defendants Mark Warsewa and Linda Joseph (“Defendants”), by and

   through their attorneys Kirk B. Holleyman and Kirk Holleyman, P.C. submit this

   Response to Plaintiff’s Motion To Certify A Question To The Colorado Supreme

   Court [ECF No. 43].

         Plaintiff’s Motion should be denied, for the following reasons:

         1. Plaintiff’s First Amended Complaint on its face shows that he does not

   meet the threshold requirement of having prudential standing to pursue this

   matter. Therefore the motion must be denied, because if it were later determined

   that the Plaintiff did not have prudential standing, a ruling by the Colorado

   Supreme Court would be an improper advisory opinion. See Farmers Ins. Exch. v.

   Dist. Court for Fourth Judicial Dist., 862 P.2d 944, 947 (Colo. 1993) (“A declaratory

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   judgment action is only appropriate when the rights asserted by the plaintiff are

   present and cognizable ones. It calls, not for an advisory opinion upon a hypothetical

   basis, but for an adjudication of present right upon established facts.”) (internal

   quotations omitted).

         2. These Defendants also agree with the arguments set forth in “The State

   of Colorado’s Response to Plaintiff’s Motion To Certify A Question To The

   Colorado Supreme Court [ECF No. 43]”, which is ECF No. 44, and incorporate

   those reasons for denial of the Plaintiff’s motion by reference as if set forth fully

   herein.

   Dated: October 9, 2018.


   KIRK HOLLEYMAN, P.C.

   /s/ Kirk B. Holleyman___
   Kirk B. Holleyman, #8325
   730 17th Street, Suite 340
   Denver, Colorado 80202
   Telephone: (303) 436-1699
   kirkholleyman@aol.com
   ATTORNEY FOR DEFENDANTS
   MARK WARSEWA and LINDA JOSEPH


                           CERTIFICATE OF SERVICE

   I hereby certify that on this 9th day of October, 2018, I caused a copy of the
   foregoing to be served via CM/ECF pursuant to Fed.R.Civ.P. 5 on all counsel
   who have entered their appearance in this case.

      /s/ Kirk B. Holleyman
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